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                       IN THE UNITED STATES DISTRICT COURT
                        FOR THE DISTRICT OF NORTH DAKOTA

United States of America,                     )
                                              )
               Plaintiff,                     )        ORDER
                                              )
       vs.                                    )
                                              )
Rose Mae Bear,                                )
                                              )        Case No. 1-17-cr-9
               Defendant.                     )


       The court conducted a detention hearing with the Defendant on June 6, 2017, at which the

court ordered the Defendant be detained pending trial. (Doc. No. 99). The court also indicated it

would be willing to grant the Defendant a furlough to attend a doctor’s appointment scheduled for

June 8, 2017, which the Defendant indicates is necessary for her to secure further treatment for her

opioid addition. Accordingly, the court ORDERS the Defendant be released at 9:00 a.m. on June

8, 2017, subject to the following set of conditions:

       1.      Once released from custody, Defendant shall, with her father, Richard White Tail,

               go directly to the Coal Country Community Health Center in Beulah, ND.

       2.      Defendant shall refrain from the use of alcohol; any use or possession of a narcotic

               drug and other controlled substances defined in 21 U.S.C. § 802 or state statute,

               unless prescribed by a licensed medical practitioner, and any use of inhalants.

               Defendant shall submit to drug/alcohol screening at the direction of the Pretrial

               Services Officer to verify compliance. Failure or refusal to submit to testing or

               tampering with the collection progress or specimen may be considered the same as

               a positive test
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3.     Defendant shall not have any contact, whether directly or indirectly, with any co-

       defendants in this case.

4.     Defendant shall not possess a firearm, destructive device, or other dangerous weapon.

5.     Defendant shall abide by all federal, state, local, and tribal laws.

6.     Defendant shall sign all releases of information requested by the Pretrial Services

       Officer with regard to the doctor’s appointment.

7.     Upon completion of her doctor’s appointment, Defendant shall immediately return

       to the Burleigh County jail. Defendant shall do so no later than 6:00 p.m. on June 8,

       2017.

IT IS SO ORDERED.

Dated this 7th day of June, 2017.

                                      /s/ Charles S. Miller, Jr.
                                      Charles S. Miller, Jr., Magistrate Judge
                                      United States District Court




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